Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 1 of 30

 

Gabapentin April 1999 Core Data Sheet
Page 16

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A single-dose bioavailability study of gabapentin (C1-945) 100 mg and 400 mg market-image
supro capsules relative to 200 mg capsules used in clinical trials and to a 400 mg solution:
(Protocol 945-054-0). Parke-Davis Clinical Research. RR 764-01490

A single-dose bioequivalence study of gabapentin (CI-945) in healthy subjects comparing 300
mg market-image supro capsules to 300 mg clinical trial capsules: (Protocol 945-055-0).
Parke-Davis Clinical Research. RR 764-01526

Effect of food on the bioavailability of gabapentin (CI-945) capsules in healthy subjects:
(Protocol CT 877-073). Parke-Davis Clinical Research. RR 4192-00331

Absolute and relative bioavailability of gabapentin (CI-945) 300 mg capsules and solution in
healthy subjects, and a comparison of plasma and saliva concentrations after administration of a
single 150 mg TV gabapentin dose: (Protocol 877-072). Parke-Davis Clinical Research. RR
4192-00255

A single-dose bioavailability study of Neurontin (gabapentin) 100 mg and 400 mg supro
market-image capsules manufactured in Puerto Rico relative to 400 mg market-image supro
capsules manufactured in Freiburg: (Protocol 945-068-0). Parke-Davis Clinical Research. RR
744-00035

Single- and multiple-dose pharmacokinetics of gabapentin (CT-945) in healthy subjects:
(Protocol 945-12-0). Parke-Davis Clinical Research. RR 744-0002 1

Pharmacokinetics of gabapentin (CI-945) following multiple oral dose administration of 300
mg capsules to eight healthy subjects: (Protocol CT 877-074). Parke-Davis Clinical Research.
RR 4192-00336

Integrated summary of effectiveness data of gabapentin capsules. Parke-Davis Clinical
Research. RR 720-02845

. Integrated summary of safety information of gabapentin capsules. Parke-Davis Clinical

Research. RR 720-02957

Protein binding of CI-945 (gabapentin) in human, monkey, and rat plasma. Parke-Davis
Clinical Research. RR 4192-00423

. Gabapentin (CI-945) cerebrospinal fluid and corresponding plasma concentrations in a safety

and efficacy study with gabapentin as add-on therapy in the treatment of partial seizures
(Protocol 945-9-01 and 945-9-02). Parke-Davis Clinical Research. RR Memo 4192-00409

Gabapentin (CI-945) cerebrospinal fluid and plasma concentrations in a safety and efficacy
study with gabapentin as add-on therapy in the treatment of partial seizures (Protocol 945-10-

01 and 945-10-02). Parke-Davis Clinical Research. RR Memo 4192-00418

Single-dose pharmacokinetics of gabapentin (CI-945) in subjects with various degrees of renal
function. Parke-Davis Clinical Research. RR 4444-00006

Pfizer_MPatel_0073658
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 2 of 30

 

Gabapentin April 1999 Core Data Sheet
Page 17

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Pharmacokinetics and metabolism of gabapentin (CI-945) in man following single oral doses of
200 mg 14C-gabapentin: (Protocol 104-005). Parke-Davis Clinical Research. RR 4192-00156

A double-blind comparative study of the effects of chronic administration of gabapentin (CT-
945) and phenytoin on antipyrine clearance in 12 healthy male subjects (Protocol 945-3-0).
Parke-Davis Clinical Research. RR 744-00045

A study to evaluate the effect of subject age on the single dose pharmacokinetics of orally
administered gabapentin (C1-945). Parke-Davis Clinical Research. RR 764-01557

A single-dose pharmacokinetic study of gabapentin (CI-945) in subjects with various degrees of
renal function (Protocol 945-062-0). Parke-Davis Clinical Research. RR 744-00048

A single-dose pharmacokinetic study of gabapentin (CT-945) in subjects with various degrees of
renal function (Protocol 945-064-0). Parke-Davis Clinical Research. RR 744-00050

. Asingle-dose pharmacokinetic study of gabapentin (CI-945) in subjects on chronic

hemodialysis: (Protocol 945-063-0), Parke-Davis Clinical Research. RR 744-00038

A Single-Dose Study of gabapentin (CI-945) Pharmacokinetics in Healthy Pediatric
Patients. Parke-Davis Clinical Research. RR 744-00377

A 12-Week, Double-Blind, Placebo-Controlled, Parallel-Group, Multicenter Study of
Gabapentin as Add-On Therapy in Children With Refractory Partial Seizures. Parke-Davis
Clinical Research. RR 720-03891

A Double-Blind Placebo-Controlled Trial of Gabapentin for Treatment of Painful Diabetic
Peripheral Neuropathy. Parke-Davis Clinical Research. RR 720-03908

Double-Blind, Randomized, Placebo-Controlled, Parallel Groups, Multi-Center Trial to
Determine the Efficacy and Safety of Gabapentin in Subjects with Peripheral Neuropathy
(Post-Herpetic Neuralgia). Parke-Davis Clinical Research. RR 995-00070.

Leiderman D, Garofalo E, LaMoreaux L. Gabapentin patients with absence seizures: two
double-blind, placebo controlled studies. Epilepsia 1993; 34(6):45.

Single- and multiple-dose pharmacokinetics of gabapentin (CI-945) in healthy subjects
maintained on phenobarbital: (Protocol 945-7-0). Parke-Davis Clinical Research.
RR 7764-01572

Single- and multiple-dose pharmacokinetics of gabapentin (CI-945) in epileptic patients

maintained on a constant phenytoin dose regimen: (Protocol 945-01). Parke-Davis Clinical
Research. RR 764-01532

Pfizer_MPatel_ 0073659
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 3 of 30

 

Gabapentin April 1999 Core Data Sheet
Page 18

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A study of potential interaction between valproic acid and gabapentin (C1-945) in epileptic
patients maintained on valproic acid: (Protocol 945-44-0), Parke-Davis Clinical Research. RR
764-01443

A single- and multiple-dose drug interaction study of gabapentin (CI-945) in patients with
epilepsy maintained on carbamazepine: (Protocol 945-45-0). Parke-Davis Clinical Research.
RR 744-00004

. A multiple-dose, dose proportionality study in healthy subjects receiving 100, 200, and 400 mg

gabapentin (C1-945) doses every eight hours for 6 days: (Protocol 945-17). Parke-Davis
Clinical Research. RR 4192-00363

A study to determine the effect of gabapentin (CI-945) on the pharmacokinetics of an oral
contraceptive agent (Norlestrin 21 2.5/50) (Protocol 945-59). Parke-Davis Clinical Research.
RR 744-00043

Drug interaction study of the effect of an antacid (Maalox TC) on the single-dose
pharmacokinetics of orally administered gabapentin (CI-945) capsules in healthy subjects:
(Protocol 945-047-0). Parke-Davis Clinical Research. RR 744-00012

Potential effect of a 1000-mg single dose of probenecid on the single-dose pharmacokinetics of
200-mg gabapentin capsules in healthy subjects: (Protocol 945-048-0), Parke-Davis Clinical
Research. RR 4192-00420

A study to determine the effect of cimetidine on the single-dose pharmacokinetics of gabapentin
(CI-945): (Protocol 945-058-0). Parke-Davis Clinical Research. RR 764-01570

One-hundred-four-week carcinogenicity study of CI-945 in male and female Wistar rats.
Parke-Davis Clinical Research. RR 745-01599

CT-945 tumor bioassay in rats-interim report of pancreas findings. Parke-Davis Clinical
Research. RR Memo 745-01662

NTP review of male rat pancreas from carcinogenesis bioassay with CI-945 (gabapentin).
Parke-Davis Clinical Research. RR Memo 745-01719

. One hundred and four week dietary carcinogenicity study of gabapentin (C1-945) in mice.

Parke-Davis Clinical Research. RR 250-01600

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hamsters by chromosome-metaphase analysis. Parke-Davis Clinical Research. RR 4188-00323

. {n vitro mutation assay of CI-945 in V79 Chinese hamster lung cells. Parke-Davis Clinical

Research. RR 745-01460

. In vitro chromosomal aberration assay of CI-945 in V79 Chinese hamster lung cells. Parke-

Davis Clinical Research. RR 745-01515

Pfizer_MPatel_0073660
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 4 of 30

 

Gabapentin April 1999 Core Data Sheet
Page 19

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Mutagenicity study with GO 9027 (= GO 3450) in the bone marrow cells of Chinese hamsters
by chromosome-metaphase analysis. Parke-Davis Clinical Research. RR 4188-00330

Micronucleus-test in the bone marrow of Chinese hamsters test. Parke-Davis Clinical
Research. RR 4188-00314

Fertility and general reproduction study in male and female rats with CI-945. Parke-Davis
Clinical Research. RR 745-01353

. Exploratory dose-range finding study in pregnant mice with C1-945. Parke-Davis Clinical

Research. RR 745-01061
Teratology study in mice with CI-945. Parke-Davis Clinical Research. RR 745-01109

Influence of GOE 3450, Batch No. 65499, on the pregnant rat, the embryo and the fetus by
oral administration. Parke-Davis Clinical Research. RR 4188-00485

Influence of GOE 3450 on the pregnant rabbit, the embryo and the fetus by oral administration.
Parke-Davis Clinical Research. RR 4188-00483

Critical assessment of the teratogenic potential of CI-945 (gabapentin) in rats and rabbits,
studies 9300 and 9301. Parke-Davis Clinical Research. RR 745-01455

. Perinatal - postnatal study in rats with CI-945 (gabapentin). Parke-Davis Clinical Research.

RR 745-01355

A single dose study of Neurontin pharmacokinetics in healthy lactating women and evaluation
of gabapentin concentrations in breast milk. Parke-Davis Clinical Research. RR 744-00309

Gabapentin fourth safety update. Parke-Davis Clinical Research. RR REG 720-03334
Gabapentin 4 month safety update. Parke-Davis Clinical Research. RR REG 720-03079
Gabapentin second safety update. Parke-Davis Clinical Research. RR REG 720-03132

A Double-Blind, Dose-Controlled, Multicenter Study Comparing Three Doses of
Gabapentin (CI-945-Neurontin®) and Open-Label Carbamazepine in Patients with Newly-
Diagnosed Epilepsy: Titration and Evaluation Phases. Parke-Davis Clinical Research RR
720-03779.

Combined Safety Data from two Double-Blind, Dose-Controlled, Multicenter Studies
Comparing Tree Doses of Gabapentin (CI-945, Neurontin®) and Open-Label

Carbamazepine in Patients with Newly-Diagnosed Epilepsy: Titration and Evaluation
Phases. Parke-Davis Clinical Research RR-720-03847

Pfizer_MPatel_ 0073661
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 5 of 30

 

Gabapentin April 1999 Core Data Sheet
Page 20

70. Determination of the acute toxicity of GO 3450 in mice and rats after intragastric,
subcutaneous and intravenous administration. Parke-Davis Clinical Research. RR 4188-00276

71. Summary of clinical pharmacology data. Clinical Pharmacy Summary. Parke-Davis Clinical
Research. RR 724-00139

72. A multicenter, randomized, double-blind, comparative study of gabapentin (CT-945)
administered as an initial dosage of 900 mg/day versus a dosage titrated to 900 mg/day over
three days. Parke-Davis Medical Research. RR 995-00059

Pfizer_MPatel_0073662
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 6 of 30

 

Appendix 1B

Core Data Sheet

for
Gabapentin (CI-0945)

February 2000

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Pfizer_MPatel_0073663
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 7 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 1

CORE PRODUCT LABELING

GENERIC NAME
Gabapentin
(capsules, tablets)

TRADE NAME
Neurontin, Normatol, Equipax, Gabapentin PD

DESCRIPTION

[AMEND LOCALLY AS NECESSARY]

Gabapentin is supplied in capsules containing 100 mg, 300 mg, and 400 mg of active drug
substance for oral administration. Each capsule also contains lactose, cornstarch, and tale.
Gabapentin is also supplied as 600 and 800 mg tablets.

Gabapentin is described as 1-(aminomethyl)cyclohexaneacetic acid with an empirical formula of

CoH17NO> and a molecular weight of 171.24. The molecular structure of gabapentin is:

( \. + CHNH,
—/ s CH,CO,H

Gabapentin is a white to off-white crystalline solid. It is freely soluble in water and both basic and
acidic aqueous solutions.

CLINICAL PHARMACOLOGY

Mechanism of Action

Gabapentin is structurally related to the neurotransmitter GABA (gamma-aminobutyric acid) but its
mechanism of action is different from that of several other drugs that interact with GABA synapses
including valproate, barbiturates, benzodiazepines, GABA transaminase inhibitors, GABA uptake
inhibitors, GABA agonists, and GABA prodrugs. /7 vitro studies with radiolabeled gabapentin
have characterized a novel peptide binding site in rat brain tissues including neocortex and
hippocampus that may relate to anticonvulsant activity of gabapentin and its structural derivatives. '

However, the identification and function of the gabapentin binding site remains to be elucidated.

Pfizer_MPatel_0073664
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 8 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 2

Gabapentin at relevant clinical concentrations does not bind to other common drug or
neurotransmitter receptors of the brain including GABA,s, GABAsg, benzodiazepine, glutamate,
glycine or N-methyl-d-aspartate receptors”

Pharmacokinetics and Metabolism

Gabapentin does not interact with sodium channels in viéro and so differs from phenytoin and
carbamazepine.’ Gabapentin partially reduces responses to the glutamate agonist N-methyl-D-
aspartate (NMDA) in some test systems #7 vitro, but only at concentrations greater than 100 uM,
which are not achieved i vivo.” Gabapentin slightly reduces the release of monoamine
neurotransmitters in vitro.°’ Gabapentin administration to rats increases GABA turnover in several
brain regions in a manner similar to valproate sodium, although in different regions of brain.* The
relevance of these various actions of gabapentin to the anticonvulsant effects remains to be
established. In animals, gabapentin readily enters the brain and prevents seizures from maximal
electroshock, from chemical convulsants including inhibitors of GABA synthesis, and in genetic

: 9,10,11,12
models of seizures.” ”

Gabapentin bioavailability is not dose-proportional. That is, as the dose is increased,
bioavailability decreases. Following oral administration, peak plasma gabapentin
concentrations are observed within 2 to 3 hours. Absolute bioavailability of gabapentin
capsules is approximately 60%. Food, including a high-fat diet, has no effect on gabapentin
pharmacokinetics.

Gabapentin elimination from plasma is best described by linear pharmacokinetics.

The elimination half-life of gabapentin is independent of dose and averages 5 to 7 hours. “*!*!617!®!°
Gabapentin pharmacokinetics are not affected by repeated administration, and steady state plasma
concentrations are predictable from single dose data.””*! Although plasma gabapentin
concentrations were generally between 2 Lig/mL and 20 [g/mL in clinical studies, such

22.23

concentrations were not predictive of safety or efficacy. Plasma gabapentin concentrations are

dose proportional at doses of 300 or 400 mg given every 8 hours. Pharmacokinetic parameters are

given in Table 1."°”'

Pfizer_MPatel_ 0073665
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 9 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 3

TABLE 1. Summary of Gabapentin Mean (“%RSD) Steady-State Pharmacokinetic Parameters
Following Q8H Administration

 

 

Pharmacokinetic Parameter 300 mg 400 mg
(N=7) (N= 11)
Crnsx g/mL) 4.02 (24) 5.50 (21)
tmas (hr) 2.7 (18) 2.1 (47)
t1/2 (hr) 5.2 (12) 6.1 ND
AUC (0-20) gehr/mL) 248 (24) 33.3. (20)
Ae% (%) NA NA 63.6 (14)

 

ND = Not determined
NA = Not available

Gabapentin is not bound to plasma proteins and has a volume of distribution equal to 57.7 liters.”*
In patients with epilepsy, gabapentin concentrations in CSF are approximately 20% of
corresponding steady-state trough plasma concentrations.’ Gabapentin is eliminated solely by
renal excretion’® There is no evidence of metabolism in man. Gabapentin does not induce hepatic
mixed function oxidase enzymes responsible for drug metabolism.

Tn elderly patients, and in patients with impaired renal function, gabapentin plasma clearance is
reduced. Gabapentin elimination-rate constant, plasma clearance, and renal clearance are directly
proportional to creatinine clearance. 7°8777°3"?

Gabapentin is removed from plasma by hemodialysis.** Dosage adjustment in patients with
compromised renal function or undergoing hemodialysis is recommended. (See DOSAGE AND
ADMINISTRATION, Table 3.)

Gabapentin pharmacokinetics in children were determined in 24 healthy subjects between the ages
of 4 and 12 years. In general, plasma gabapentin concentrations in children are similar to those in

adults."

INDICATIONS AND USAGE

Epilepsy:

Gabapentin is indicated as monotherapy in the treatment of partial seizures with and without
secondary generalization in adults and children over 12 years of age,??°°”

Gabapentin is indicated as adjunctive therapy in the treatment of partial seizures with and without

secondary generalization in adults and children age 3 years and above.*”

Pfizer_MPatel_0073666
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 10 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 4

Neuropathic Pain:

Gabapentin is indicated for the treatment of neuropathic pain in adults age 18 years and above.*”*’

CONTRAINDICATIONS
Gabapentin is contraindicated in patients who are hypersensitive to gabapentin or the product's

components.

WARNINGS
(See PRECAUTIONS.)

PRECAUTIONS

General

Although there is no evidence of rebound seizures with gabapentin, abrupt withdrawal of
anticonvulsants in epileptic patients may precipitate status epilepticus. When in the judgement of
the clinician there is a need for dose reduction, discontinuation, or substitution of alternative

anticonvulsant medication, this should be done gradually over a minimum of one week.

Gabapentin is not generally considered effective in the treatment of absence seizures.

Information for Patients

To assure safe and effective use of gabapentin, the following information and instructions should be

given to patients:

1. Inform your physician about any prescription or nonprescription medications, alcohol, or
drugs you are now taking or plan to take during your treatment with gabapentin.

2. You should inform your physician if you are pregnant, or if you are planning to become
pregnant, or if you become pregnant while you are taking gabapentin.

3. Gabapentin is excreted in human milk, and the effect on the nursing infant is unknown.
You should inform your physician if you are breast feeding an infant. (See Usage in Nursing

Mothers.)

4. Until you experience how this medication affects you, do not drive a car or operate

 

potentially dangerous machinery.

Pfizer_MPatel_0073667
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 11 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 5

5. You should not allow more than 12 hours between gabapentin doses.

Laboratory Tests
False positive readings were reported with the Ames N-Multistix SG® dipstick test when

gabapentin was added to other anticonvulsant drugs.” To determine urinary protein, the more

specific sulfosalicylic acid precipitation procedure is recommended.

Drug Interactions

No interaction between gabapentin and phenobarbital, phenytoin, valproic acid, or carbamazepine

39,40,41,42,43

has been observed. Gabapentin steady-state pharmacokinetics are similar for healthy

subjects and patients with epilepsy receiving these antiepileptic agents.”””°

Coadministration of gabapentin with oral contraceptives containing norethindrone and/or ethinyl
estradiol, does not influence the steady-state pharmacokinetics of either component.“
Coadministration of gabapentin with antacids containing aluminum and magnesium, reduces
gabapentin bioavailability by about 20%.** It is recommended that gabapentin be taken about two
hours following antacid administration.

Renal excretion of gabapentin is unaltered by probenecid.”

A slight decrease in renal excretion of gabapentin observed when it is coadministered with
cimetidine is not expected to be of clinical importance.”

Carcinogenesis, Mutagenesis, Impairment of Fertility

 

Gabapentin was given in the diet to mice at 200, 600, and 2000 mg/kg/day and to rats at 250, 1000,
and 2000 mg/kg/day for two years.°“°°"*!_A statistically significant increase in the incidence of
pancreatic acinar cell tumors was found only in male rats at the highest dose. Peak plasma drug
concentrations in rats at 2000 mg/kg/day are 10 times higher than plasma concentrations in humans
given 3600 mg/day. The pancreatic acinar cell tumors in male rats are low grade malignancies, did
not affect survival, did not metastasize or invade surrounding tissue, and were similar to those seen
in concurrent controls. The relevance of these pancreatic acinar cell tumors in male rats to

carcinogenic risk in humans is unclear.

Pfizer_MPatel_0073668
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 12 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 6

Gabapentin demonstrated no genotoxic potential. It was not mutagenic i vitro in standard assays
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using bacterial or mammalian cells.°*°? Gabapentin did not induce structural chromosome

aberrations in mammalian cells é# vitro or in vivo, and did not induce micronucleus formation in the

35 56
bone marrow of hamsters.**"**°

No adverse effects on fertility or reproduction were observed in rats at doses up to 2000 mg/kg
(approximately five times the maximum daily human dose on a mg/m’ basis).*”

58,39,60,61,62,63

Usage in Pregnancy

Gabapentin did not increase the incidence of malformations, compared to controls, in the offSpring
of mice, rats, or rabbits at doses up to 50, 30 and 25 times respectively, the daily human dose of
3600 mg, (four, five or eight times, respectively, the human daily dose of a mg/m’ basis). There
are, however, no adequate and well-controlled studies in pregnant women. Because animal
reproduction studies are not always predictive of human response, this drug should be used during
pregnancy only if the potential benefit to the patient justifies the potential risk to the fetus.
Gabapentin induced delayed ossification in the skull, vertebrae, forelimbs, and hindlimbs in rodents,
indicative of fetal growth retardation. These effects occurred when pregnant mice received oral
doses of 1000 or 3000 mg/kg/day during organogenesis and in rats given 500, 1000, or 2000
me/kg prior to and during mating and throughout gestation. These doses are approximately | to 5
times the human dose of 3600 mg on a mg/m” basis.

No effects were observed in pregnant mice given 500 mg/kg/day (approximately 1/2 of the daily
human dose on a mg/m’ basis).

An increased incidence of hydroureter and/or hydronephrosis was observed in rats given 2000
mg/kg/day in a fertility and general reproduction study, 1500 mg/kg/day in a teratology study, and
500, 1000, and 2000 mg/ke/day in a perinatal and postnatal study. The significance of these
findings is unknown, but they have been associated with delayed development. These doses are
also approximately 1 to 5 times the human dose of 3600 mg on a mg/m’ basis.

Ina teratology study in rabbits, an increased incidence of postimplanation fetal loss, occurred in
doses given 60, 300, and 1500 mg/kg/day during organogenesis. These doses are approximately

1/4 to 8 times the daily human dose of 3600 mg on a mg/m” basis.

Usage in Nursing Mothers

Pfizer_MPatel_0073669
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 13 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 7

Gabapentin is excreted in human milk. Because the effect on the nursing infant is unknown,
caution should be exercised when gabapentin is administered to a nursing mother." Gabapentin
should be used in nursing mothers only if the benefits clearly outweigh the risks.

Pediatric Use

Hpilepsy: Safety and effectiveness for adjunctive therapy in pediatric patients below the age of 3
years have not been established. Safety and effectiveness for monotherapy in children below the
age of 12 years have not been established. (See DOSAGE AND ADMINISTRATION)

Neuropathic pain: Safety and effectiveness in patients below the age of 18 years have not been
established.
Geriatric Use

Fifty-nine individuals 65 years of age or older received gabapentin in premarketing clinical trials.
Side effects reported among these patients did not differ in kind from those reported in younger
individuals. For patients with compromised renal function, the dosage should be adjusted. (See

DOSAGE and ADMINISTRATION.)

ADVERSE REACTIONS
Gabapentin has been evaluated for safety in more than 2000 subjects and patients in adjunctive

therapy studies and was well tolerated. Of these, 543 patients participated in controlled clinical
trials.” Since gabapentin was most often administered in combination with other antiepileptic
agents, it was not possible to determine which agent(s), if any, was associated with adverse events.

Gabapentin has also been evaluated as monotherapy in more than 600 patients. Adverse events
were usually mild to moderate in intensity.

Incidence in Controlled Adjunctive Therapy Clinical Trials:

The following table lists treatment-emergent signs and symptoms that occurred in at least 1%
of patients with partial seizures participating in controlled adjunctive therapy studies
comparing gabapentin with placebo.’ In these studies, either gabapentin or placebo was
added to the patient's current antiepileptic drug therapy. Adverse events were usually reported

as mild to moderate.

 

Pfizer_MPatel_ 0073670
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 14 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 8

TABLE 2. Summary of Treatment-Emergent Signs and Symptoms in >1% of
Gabapentin-Treated Patients in Adjunctive Therapy Placebo-Controlled Studies
Number (Percent) of Patients

 

 

Adverse Event" (AE) Gabapentin? Placebo"
N= 543 N= 378

Samnoalanca TAS £10 20 ARTN
Dizziness 93 (17.1) 26 (6.9)
Ataxia 68 (12.5) 21 (5.6)
Fatigue 60 (11.0) 19 (5.0)
Nystagmus 45 (8.3) 15 (4.0)
Tleadache 44 (8.1) 34 (9.0)
Tremor 37 (6.8) 123.2)
Nausea andor vomiting 33 (6.1) 27 (7.1)
Diplopia 32 (5.9) 719)
Amblyopia® 23 (4.2) 4a.
Rhinitis 22 (4.1) 14 (3.7)
Weight Increase 16 (2.9) 6 (1.6)
Pharyngitis 15 (2.8) 6 (1.6)
Dysarthria 13 (2.4) 20.5)
Nervousness 13 (2.4) 70.9)
Dyspepsia 12 (2.2) 2(0.5)
Amnesia 12 (2.2) 0.0.0)
Myalgia 11 (2.0) 7(19)
Coughing 10 (1.8) 5 (1.3)
Abdominal Pain 10 (1.8) 9 (2.4)
Back Pain 10 (1.8) 2 (0.5)
Depression 10 (1.8) 7 (1.8)
Thinking Abnormal 9 (1.7) 5 (1.3)
Mouth or Throat Dry 9 (1.7) 20.5)
Peripheral Edema 9 (1.7) 2 (0.5)
Confusion 9 (1.7) 7(1.9)
Constipation 8S) 3 (0.8)
Impotence 8 (1.5) 4a.
Dental Abnormalitics 8 (1.5) 1 (0.3)
Rash 8 (1.5) 6 (1.6)
Diarrhea 71.3) 8 (2.1)
Viral Infection 71.3) 8 (2.1)
Fever 71.3) 51.3)
‘T witching 71.3) 2 (0.5)
Abrasion 71.3) 0 (0.0)
Pruritus 71.3) 2 (0.5)
Increased Appetite 6.1) 3 (0.8)
WLC Decreased 6(1.1) 2 (0.5)
Insomnia 6 (1.1) 7(1.9)
Acne 6 (1.1) 51.3)
Fracture 6 (1.1) 3 (0.8)
Vasodilatation 6(1.1) 1 (0.3)
Leukopenia 6 (1.1) 2 (0.5)
Coordination Abnormal 6(1.1) 1 (0.3)
Emotional Lability 6 (1.1) 5 (1.3)

 

* COSTART preferred term
© Plus background antiepileptic drug therapy
* Blurred vision

 

Other Adverse Events Observed During All Clinical Trials:

 

Adjunctive Therapy
Those events that occurred in at least 1% of the study participants with epilepsy who received

gabapentin as adjunctive therapy in any clinical study and that are not described in the previous

Pfizer_MPatel_ 0073671
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 15 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 9

section as frequently occurring treatment-emergent signs and symptoms during placebo-controlled
studies are summarized below.

Body as A Whole: asthenia, malaise, facial edema

Cardiovascular System: hypertension

Digestive System: flatulence, anorexia, gingivitis

Hemic, Lymphatic Systems: purpura most often described as bruises resulting from physical trauma
Musculoskeletal System: arthralgia

Nervous System: vertigo, hyperkinesia, increased, decreased or absent reflexes, paresthesia,
anxiety, hostility

Respiratory System: pneumonia

Urogenital System: urinary tract infection

Special Senses: abnormal vision most often described as a visual disturbance

Monotherapy

No new and unexpected adverse events were reported during the clinical trials for
monotherapy. Dizziness, ataxia, somnolence, paresthesia, and nystagmus showed a dose
relationship when comparing 300 with 3600 mg/day.

34,35
Pediatric”™”

The most commonly observed adverse events reported with the use of gabapentin in combination
with other antiepileptic drugs in children 3 to 12 years of age, not seen in equal frequency among

placebo-treated patients, were viral infection, fever, nausea and/or vomiting, and somnolence.

Pfizer_MPatel_0073672
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 16 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 10

TABLE 3. Treatment Emergent Adverse Event Incidence in Children Age 3 to 12 years in
Controlled Add-On Trials (Events in at least 2% of Gabapentin patients and
numerically more frequent than in the placebo group)

 

Gabapentin* Placebo’
Body System/Adverse Event N-119 N=128
% %
Body as a Whole
Viral Infection 10.9 3.1
Fever 10.1 3.1
Weight Increase 3.4 0.8
Fatigue 3. 1.6
Digestive
Nausea and/or Vomiting 8.4 7.0
Nervous System
Somnolence 8.4 47
Hostility 7.6 2.3
Emotional Lability 4.2 1.6
Dizziness 2.5 16
Hyperkinesia 2.5 0.8
Respiratory System
Bronchitis 3.4 0.8
Respiratory Infection 2.5 0.8

 

* Plus existing antiepileptic drug therapy

Other events in more than 2% of children that occurred equally or more frequent in the
placebo group included: pharyngitis, upper respiratory infection, headache, rhinitis,

convulsions, diarrhea, anorexia, coughing, and otitis media.

Withdrawal from Treatment Due to Adverse Events:

Adjunctive Therapy

Approximately 7% of the more than 2000 healthy volunteers and patients with epilepsy, spasticity,
or migraine who received gabapentin in clinical studies withdrew due to adverse events.”

In all clinical studies, the most frequently occurring events that contributed to discontinuation of
gabapentin included somnolence, ataxia, dizziness, fatigue, nausea and/or vomiting. Almost all

participants had multiple complaints, none of which could be characterized as primary.

Pfizer_MPatel_ 0073673
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 17 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 11

, 68,69

Monotherapy

Approximately 8% of the 659 patients who received gabapentin as monotherapy or conversion to
monotherapy in premarketing trials discontinued treatment because of an adverse event. The
adverse events most commonly associated with withdrawal were dizziness, nervousness, weight
gain, nausea and/or vomiting, and somnolence.

Pediatric*”

Approximately 8% of the 292 children age 3 to 12 years who received gabapentin in clinical trials
discontinued treatment because of an adverse event. The adverse events most commonly

associated with withdrawal in children were somnolence, hyperkinesia, and hostility.

Post-marketing Experience:

Sudden, unexplained deaths have been reported where a causal relationship to treatment with
gabapentin has not been established. Additional post-marketing adverse events reported include
urinary incontinence, pancreatitis, erythema multiforme, Stevens-Johnson syndrome, blood glucose

fluctuations in patients with diabetes and elevated liver function tests (LFTs).

OVERDOSAGE

An oral lethal dose of gabapentin was not identified in mice and rats given doses as high as

8000 mg/kg. Signs of acute toxicity in animals included ataxia, labored breathing, ptosis,
hypoactivity, or excitation.”

Acute, life-threatening toxicity has not been observed with gabapentin overdoses of up to 49 g.
Symptoms of the overdoses included dizziness, double vision, slurred speech, drowsiness, lethargy
and mild diarrhea. All patients recovered fully with supportive care. Reduced absorption of
gabapentin at higher doses may limit drug absorption at the time of overdosing and, hence,

minimize toxicity from overdoses.
Although gabapentin can be removed by hemodialysis, based on prior experience it is usually not

required. However, in patients with severe renal impairment, hemodialysis may be indicated.

DOSAGE AND ADMINISTRATION

Gabapentin is given orally with or without food.'?”

Epilepsy:

Pfizer_MPatel_ 0073674
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 18 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 12

Adults and Pediatric Patients over 12 years of age:
In clinical trials, the effective dosing range was 900 to 3600 mg/day” Therapy may be initiated by
administering 300 mg three times a day (TID) on Day 1, or by titrating the dose as described
below.” Thereafter, the dose can be increased in three equally divided doses up to a maximum of
3600 mg. Dosages up to 4800 mg/day have been well tolerated in long-term open-label clinical
studies.“*”” The maximum time between doses in the three times a day (TID) schedule should not
exceed 12 hours.

Dosing Chart

Initial Titration ”

 

DOSE DAY 1 DAY 2 DAY 3

 

900 mg 300 mg QD 300 mg BID 300 mg TID

 

1200mg | 400mgQD | 400mg BID 400 mg TID

 

 

 

 

 

 

 

 

Maintenance Dosing
DOSE SCHEDULE
900 mg 300 mg TID

 

1200 mg 400 mg TID

 

1800 mg | 2x 300 mg TID or
600 mg TID

2400 mg | 2 x 400 mg TID or
800 mg TID

3600 mg 3 x 400 mg TID

 

 

 

 

 

 

Pediatric Patients Age 3-12 years:
The effective dose of gabapentin is 25 to 35 mg/kg/day given in divided doses (3 times a day).

Titration to an effective dose can take place over 3 days by giving 10 mg/kg/day on Day 1, 20

Pfizer_MPatel_ 0073675
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 19 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 13

mg/kg/day on Day 2, and 30 mg/kg/day on Day 3. Dosages up to 40 to 50 mg/kg/day have been

well tolerated in a long-term clinical study.

It is not necessary to monitor gabapentin plasma concentrations to optimize gabapentin therapy.”
Further, gabapentin may be used in combination with other antiepileptic drugs without concern for
alteration of the plasma concentrations of gabapentin or serum concentrations of other antiepileptic
drugs 39,40,41L,42

Tf gabapentin is discontinued and/or an alternate anticonvulsant medication is added to the therapy,

this should be done gradually over a minimum of one week.

Neuropathic Pain in Adults:

The starting dose is 900 mg/day given as three daily divided doses, and titrated ifnecessary, based
on response, up to a maximum dose of 3600 mg/day.*°°”

Dosage Adjustment in Impaired Renal function for Patients with Neuropathic Pain or
Epilepsy:

Dosage adjustment is recommended in patients with compromised renal function or those

undergoing hemodialysis.’ (See TABLE 4.)

TABLE 4. Dosage of Gabapentin in Adults Based on Renal Function”

 

 

Renal Function Total Daily Dosc*
Creatinine Clearance mg/day
(mL/min)

2 80 900 1200 2400 3600 4800

50-79 600 600 1200 1800 2400

30-49 300 300 600 900 1200
15-29 150° 300 300 600 600
<15 150° 150° 150° 300 300

“Total daily dose should be administered as a TID regimen. Doscs used to treat paticnts with normal renal
function (creatinine clearance >80 mL/min) range from 900 to 4800 mg/day. Reduced dosages are for

paticnts with renal impairment (creatinine clearance < 79 mL/min).

> To be administered as 300 mg every other day.

Pfizer_MPatel_0073676
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 20 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 14

For patients undergoing hemodialysis who have never received gabapentin, a loading dose of 300
to 400 mg is recommended, then 200 to 300 mg of gabapentin following each 4 hours of

hemodialysis.

HOW SUPPLIED [AMEND LOCALLY AS NECESSARY .]
Gabapentin capsules are supplied as follows:

100-mg capsules:

300-mg capsules:

400-mg capsules:

600—mg tablets:

800—mg tablets:

STORAGE
Store at controlled room temperature 15 - 30°C (59-86°F).

Pfizer_MPatel_0073677
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 21 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 15

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Pfizer_MPatel_ 0073678
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 22 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 16

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Pfizer_MPatel_0073679
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 23 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 17

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Pfizer_MPatel_0073680
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 24 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 18

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Pfizer_MPatel_ 0073681
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 25 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 19

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Pfizer_MPatel_0073682
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 26 of 30

 

Gabapentin February 2000 Core Data Sheet
Page 20

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Pfizer_MPatel_ 0073683
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 27 of 30

 

Appendix 2A

Line Listing of Reports
by Health Care Professionals
for Gabapentin (Cl-0945)
01 February 2000 to 31 July 2000

Serious Reports

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Pfizer_MPatel_ 0073684
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 28 of 30

 

Appendix 2B

Line Listing of Reports
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for Gabapentin (Cl-0945)
01 February 2000 to 31 July 2000

NonSerious Unlabeled Reports

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Pfizer_MPatel_ 0073685
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 29 of 30

 

Appendix 2C

Line Listing of Reports
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01 February 2000 to 31 July 2000

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Pfizer_MPatel_ 0073686
Case 1:04-cv-10981-PBS Document 1175-52 Filed 03/14/08 Page 30 of 30

 

Appendix 2D

Line Listing of Reports
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for Gabapentin (Cl-0945)
01 February 2000 to 31 July 2000

Serious Related Study and
Literature Reports

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